                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION

 In Re:                                           Case No. 19-00475-JMC-13

 Jason Allen Brewer
                                                  Chapter 13
 Mary Louise Brewer

 Debtor(s).                                       Judge James M. Carr

                                  NOTICE OF APPEARANCE

          Now comes Molly Slutsky Simons, an attorney admitted to practice in the U.S.

Bankruptcy Court, Southern District of Indiana, and enters an appearance on behalf of Franklin

Credit Management Corporation as servicer for Deutsche Bank National Trust Company, as

certificate trustee on behalf of Bosco Credit II Trust Series 2010-1, in the above captioned

proceedings.

                                                  Respectfully Submitted,

                                                  /s/ Molly Slutsky Simons
                                                  Molly Slutsky Simons (OH 0083702)
                                                  Sottile & Barile, Attorneys at Law
                                                  P.O. Box 476
                                                  Loveland, OH 45140
                                                  Phone: 513.444.4100
                                                  Email: bankruptcy@sottileandbarile.com
                                                  Attorney for Creditor
                                CERTIFICATE OF SERVICE

I certify that on February 1, 2019, a copy of the foregoing Notice was filed electronically. Notice
of this filing will be sent to the following party/parties through the Court’s ECF System.
Party/parties may access this filing through the Court’s system:

       Mark S Zuckerberg, Debtors’ Counsel
       filings@mszlaw.com

       Ann M. DeLaney, Trustee
       ecfdelaney@trustee13.com

       Office of the U.S. Trustee
       ustpregion10.in.ecf@usdoj.gov

I further certify that on February 1, 2019, a copy of the foregoing Notice was mailed by first-
class U.S. Mail, postage prepaid and properly addressed to the following:

       Jason Allen Brewer, Debtor
       Mary Louise Brewer, Debtor
       3842 E. Brunswick Ave
       Indianapolis, IN 46237-2496

                                                  /s/ Molly Slutsky Simons
                                                  Molly Slutsky Simons (OH 0083702)
                                                  Attorney for Creditor
